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 6   Attorneys for Defendant
     ZULEMA ELIZABETH RODRIGUEZ
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,   )                   Case No. 2:18-cr-00191-MCE
                                 )
12              Plaintiff,       )                   STIPULATION REGARDING WAIVER OF
                                 )                   PERSONAL APPEARANCE
13   vs.                         )
                                 )
14   ZULEMA ELIZABETH RODRIGUEZ, )                   Date: June 25, 2020
                                 )                   Time: 10:00 A.M.
15              Defendant.       )                   Judge: Hon. Morrison C. England, Jr.
                                 )
16                               )

17   TO:    McGREGOR W. SCOTT, UNITED STATES ATTORNEY AND JUSTIN LEE,
            ASSISTANT UNITED STATES ATTORNEY, COUNSEL FOR PLAINTIFF:
18
            On March 30, 2020, Chief United States Judge Mueller issued General Order 614,
19
     “Coronavirus Public Emergency Authorizing Video-teleconferencing and Telephone
20
     Conferencing for Criminal Proceedings Under Section 15002 of the Coronavirus Aid, Relief and
21
     Economic Security (CARES) Act,” which authorizes the use of videoconferencing – or
22
     telephone phone conferencing if videoconference is not reasonably available – in various
23
     criminal proceedings, including sentencing hearings, if the case cannot be further delayed
24
     without serious harm to the interests of justice.
25
            In this matter, Ms. Rodriguez has an interest in resolving her case by proceeding to the
26
     Judgment and Sentencing hearing via video-teleconference. Were this Court to delay the hearing
27
     until a time when the proceeding may be held in person, Ms. Rodriguez’ interest in timely
28
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 1   resolving her case would be thwarted. Additionally, such delay would result in Ms. Rodriguez’

 2   ongoing custody at the Sacramento County Jail, where she has been incarcerated for 21 months

 3   pretrial.
 4              Further delay of the sentencing hearing would thus inflict serious harm to the interests of
 5   justice.
 6                                                    Respectfully Submitted,
 7                                                    HEATHER E. WILLIAMS
                                                      Federal Defender
 8
 9   Dated: June 19, 2020                             /s/ Hannah Rose Labaree
                                                      HANNAH ROSE LABAREE
10                                                    Assistant Federal Defender
                                                      Attorneys for
11                                                    ZULEMA ELIZABETH RODRIGUEZ
12
13
                Ms. Rodriguez, having been advised of her right to appear in person for her Judgment &
14
     Sentencing, hereby waives her right to personally appear at the hearing on June 25, 2020, and
15
     instead requests to appear via video-teleconference from the United States Marshal’s lock-up
16
     facility.
17
18   Dated: June 19, 2020                             /s/ Zulema Elizabeth Rodriguez
                                                      ZULEMA EIZABETH RODRIGUEZ
19                                                    Defendant
20
                I hereby concur in my client’s waiver.
21
22
     Dated: June 19, 2020                             /s/ Hannah Rose Labaree
23                                                    HANNAH ROSE LABAREE
                                                      Assistant Federal Defender
24                                                    Attorney for
                                                      ZULEMA ELIZABETH RODRIGUEZ
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 1
                                                      ORDER
 2
            Pursuant to the defendant’s request for waiver of in-person appearance, and good cause
 3
     appearing, this Court specifically finds that:
 4
            1)      The sentencing hearing in this case cannot be further delayed without serious
 5
                    harm to the interests of justice;
 6
            2)      The defendant has waived her physical presence at the hearing and consents to
 7
                    remote hearing by videoconference; and
 8
            3)      Therefore, based on the findings above, and under the Court’s authority under §
 9
                    15002(b) of the CARES Act and General Order 614, the Judgment & Sentencing
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                    hearing in this case will be conducted by videoconference.
11
            IT IS SO ORDERED.
12
     Dated: June 21, 2020
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